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The Honorable Loretta A. Preska
January 27, 2021
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her objection to unsealing, and the Court rejected it. ECF No. 1149 at 2-5. Defendant has provided
no reason to revisit those arguments.

        Third, Defendant’s note that certain testimony should be kept sealed so that she can
challenge its admissibility at her criminal trial is not only speculative, but has also already been
addressed by this Court. Jan. 19, 2021, Hr’g Tr. at 5:23-6:5 (“The public’s First Amendment right
to access these documents is not outweighed by the prospective inadmissibility of certain of them
in some later proceeding. In any case, the Court takes comfort in the fact that Ms. Maxwell
recognizes that she has the Federal Rules of Criminal Procedure and evidence at her disposal when
the appropriate time comes to fight this fight down the road.”). The Court’s reasoning was clear
and its ruling was well within its discretion, and it should decline Defendant’s invitation to revisit.

        Simply put, the Court should deny Defendant’s motion for reconsideration. Her latest
attempt fails to satisfy the standard for reconsideration in that it is not based on new or overlooked
information; rather, it is based on information already known to the Court. Moreover, there is no
clear error or manifest injustice that warrants reconsideration of the Court’s ruling. Defendant’s
request should be denied.

                                               Sincerely,

                                               /s/ Sigrid S. McCawley
                                               Sigrid S. McCawley, Esq.


       cc: Counsel of Record (via ECF)
